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         < Details                 Inventory Record                 PDF


          Are There Signs or Signals?
          Yes (At least one sign or signal at crossing)


          Crossbuck Assemblies
          2



          STOP Signs (Rl-I)
          0



          YIELD Signs (R1-2)
          N/A


          Advance Warning Signs
          None



          W10-1
          N/A


          W10-2
          N/A


          W10-3
          N/A


          W10-4
          N/A


          W10-11
          N/A


          W10-12
          N/A


          Low Ground Clearance Signs {W10-5)
          No



          Low Ground Clearance Signs (W10-5) (count)
          0



          Pavement Markings
          None


                -   ..   _   l?_
